        Case 1:20-cv-00879-ELR Document 41 Filed 06/30/20 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF
COLORED PEOPLE, et al.,

       Plaintiffs,

v.

DEKALB COUNTY BOARD OF
REGISTRATION AND ELECTIONS,               Civil Action File No.
et al.,                                   1:20-CV-00879-ELR

       Defendants.

                     JOINT PROPOSED HEARING SCHEDULE

       Plaintiffs Georgia State Conference of the National Association for the

Advancement of Colored People and Georgia Coalition for the People’s Agenda,

Inc. (together, “Plaintiffs”) and Defendants DeKalb County Board of Registration

and Elections (the “BRE”) and Anthony Lewis, Susan Motter, Dele Lowman Smith,

Samuel Tillman, Baoky N. Vu, and Erica Hamilton, all in their official capacities

(collectively, “Defendants”) respectfully submit this Joint Proposed Hearing

Schedule for oral argument on Defendants’ Motion to Dismiss (Doc. 27) pursuant

to the Court’s Order entered June 16, 2020 as follows:
        Case 1:20-cv-00879-ELR Document 41 Filed 06/30/20 Page 2 of 5




       The parties propose that each side be allowed thirty minutes for oral

argument. Defendants respectfully request that five (5) minutes of the time allotted

for their argument be reserved for rebuttal.

      Respectfully submitted this 30th day of June, 2020.

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        Case 1:20-cv-00879-ELR Document 41 Filed 06/30/20 Page 3 of 5




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                                    -3-
        Case 1:20-cv-00879-ELR Document 41 Filed 06/30/20 Page 4 of 5




  CERTIFICATE OF SERVICE AND CERTIFICATE OF COMPLIANCE
                   WITH LOCAL RULE 5.1

      I hereby certify that I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system (which document was prepared in

Times New Roman font, 14-point type, one of the font and point selections approved

by the Court in N.D. Ga. L.R. 5.1(C)), which will automatically send e-mail

notification of such filing to the following opposing counsel of record:

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                                        -4-
 Case 1:20-cv-00879-ELR Document 41 Filed 06/30/20 Page 5 of 5




This 30th day of May, 2020.

                                    s/ Irene B. Vander Els
                                    Irene B. Vander Els
                                    Assistant County Attorney
                                    DeKalb County Law Department

                                    One of the Attorneys for Defendants




                              -5-
